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   7                              UNITED STATES DISTRICT COURT
   8                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   9
  10 ACQUISITION MANAGEMENT,                             CASE NO.2:19- V-08481-PSG
     INC.
  11                                                     rPR     Dl ORDER FOR
              Plaintiff,                                 b   ISSAL WITH PREJUDICE
  12
          vs.
  13                                                     Hon. Philip S. Gutierrez
     ZYNPASS,LLC dba ALOWARE,
  14                                                     Trial Date:      None Set
              Defendant.
  15
  16
       Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before it,
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        and being fully advised finds as follows:
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                  IT IS ORDERED THAT:
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                  Plaintiff Acquisition Management, Inc.'s entire action is dismissed with
  20
        prejudice in its entirety. Each party shall bear its own fees and costs.
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  22
       DATED: June ~,2020
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  25                                              The Honorable Philip S. Gutierrez
  26                                              United States District Court

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